                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


                                          )
UNITED STATES OF AMERICA                  )
                                          )
              v.                          )       CRIM. NO. 17-CR-10337
                                          )
LOGAN PROCELL                             )
                                          )

    DEFENDANT’S MOTION FOR EVIDENTIARY HEARING REGARDING
                         RESTITUTION

       The defendant, Logan Procell, moves that this Court hold an evidentiary hearing

concerning the outstanding matter of restitution in this case. As grounds, the defendant

states the following:

                                      Argument
       I.     The Defendant is Not Subject to the Provisions of the Mandatory
              Restitution for Victims Act Because His Was Not a Crime of Violence

       On June 21, 2019, the defendant was sentenced after having previously pled guilty

to one count of enticing a minor and one count of transferring obscene material to a

minor. The Court sentenced him to a term of incarceration of 135 months, and set July

25, 2019 for a hearing to discuss restitution in this case. The procedures for mandatory

restitution are laid out at 18 U.S.C. § 3663A (“MVRA”), and apply to crimes of violence,

and other enumerated crimes which do not apply to the case at bar (e.g., violations of the

Controlled Substances Act, tampering with consumer products, or theft of medical

products). Crimes of violence are defined at 18 U.S.C. 16(a) and (b), however (a) does



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not apply because physical force is not an element of enticing a minor or transferring

obscene material.

         Section 16(b) defines a crime of violence as any “offense that is a felony and that,

by its nature, involves a substantial risk that physical force against the person or property

of another may be used in the course of committing the offense.” In determining whether

a conviction qualifies as a crime of violence, courts take the “categorical approach”

looking at whether “the elements and the nature of the offense of conviction” qualify, by

their nature, as a crime of violence. United States v. Fish, 758 F.3d 1, 5 (1st Cir. 2014).

         The offense of enticing a minor laid out in Section 2422(b) criminalizes using or

attempting to use means of interstate commerce to knowingly “persuade[], induce[],

entice[], or coerce[]” a minor to engage in “any sexual activity.” Persuasion (to move by

argument), inducement (to move by persuasion or influence), enticement (to attract

artfully by arousing hope or desire), and coercion (to compel to an act or choice), are all

activities that by their nature, do not include an element of force.1 These verbs are more

rhetorically than physically forceful in nature, and therefore, enticing a minor cannot

constitute a crime of violence, and the MVRA does not apply.

         II.    The Defendant Requests an Evidentiary Hearing to Determine
                Whether An Alternative Harm Proximately Caused Minor A’s Need
                for Psychological Services

         The Government is requesting approximately $57,260 in restitution, $53,760 (or

93%) of which is accounted for by seven years of therapy that Minor A’s clinician


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    All definitions obtained from Merriam-Webster.
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recommends, at a rate of $175 per hour. On July 22, 2019, undersigned counsel spoke

with AUSA Anne Paruti, and asked about representations Minor A made to the defendant

alleging that her older brother had raped and assaulted her several times, on an almost

weekly basis. AUSA Paruti responded that these allegations sounded familiar but that

there was no evidence that this incestuous sexual assault actually occurred. In an e-mail

sent to counsel later this same day, AUSA Paruti noted that Minor A did indeed state that

her brother raped her.

       There is no allegation that the defendant ever committed a contact offense, and

reasonable parties would have to admit that the psychological harm inflicted from a

contact offense by a family member is far greater than a non-contact offense based solely

on text messages exchanged between more than a thousand miles apart. See also Sex

Offender Registry Board Regulations at 803 CMR 1.33 (19) (setting forth that “sexual

assault involving penetration has been shown to cause increased psychological harm to

the victim . . . [and] poses an increased degree of dangerousness.”). Therefore, where so

much of the request is based on psychological services, the defendant seeks an

evidentiary hearing where Minor A, her mother, and her therapist, can all be questioned

as to the extent of this intra-familial assault, in order to clearly determine how much of

her therapeutic time is spent devoted to behavior not caused or created by the defendant.

Put another way, only those harms proximately caused by the defendant’s criminal

behavior are eligible for inclusion in a restitution order, and a hearing is necessary in

order to determine whether another, greater harm, is the actual proximate cause for Minor

A’s therapy. See 18 U.S.C. § 3663A(a)(2).

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       III.   The Defendant is Not Required to Pay for Minor A’s Mother’s Lost
              Income

       The Government also seeks $1,819.00 for 17 hours of Minor A’s mother’s lost

income (an hourly rate of $107 per hour or $214,000 annually), although they

acknowledge she was never “docked” any pay. Although the statute does allow lost

income for victims, it defines “victim” as “a person directly and proximately harmed as a

result of the commission of an offense” and allows restitution for income lost “by such

victim as result of such offense.” 18 U.S.C. § 3663A(b)(2)C). “The use of the definite

article indicates that ‘the victim’ who may be reimbursed is the victim described at the

beginning of the subsection – that is the victim who suffered bodily injury.” United States

v. Wilcox, 487 F.3d 1163, 1176 (8th Cir. 2007).

       Another section of the restitution statute allows a legal guardian to “assume the

victim’s rights under this section” where the victim is a minor. However, this provision

“simply provides that the court may order the defendant to pay to the legal guardian,

rather than the victim herself, the restitution owed to the victim. This section does not

allow the legal guardian to substitute her own losses for those of the victim.” Id. at 1178

(emphasis in original). Therefore, the Court should not order any amount of restitution be

paid to Minor A’s mother for her income loss.

       IV.    The $5,000 Special Assessment Does Not Apply Because the Defendant
              is Indigent

       The Court directed the parties to address whether the $5,000 special assessment

applies to this case. It does not. 18 U.S.C. § 3014 mandates that the Court “shall assess an


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amount of $5,000 on any non-indigent person” convicted of certain offenses. As the

probation department found in its pre-sentence investigation, the defendant has more

debts (student loans) than assets, and therefore does not qualify as a “non-indigent

person.” The plain language of the statute prevents its application here.

       Further, the collateral consequences of this type of conviction are far-reaching and

will impact the defendant’s future earning capacity. Although he is educated, and has

some work history, that history is in teaching, a profession from which he will certainly

be barred. With this type of conviction, the defendant will be lucky to find any type of

employment, let alone employment that would make him non-indigent. Under the view of

his current and future finances, the defendant is indigent, and the special assessment does

not apply.

       WHEREFORE, the defendant moves that restitution under the MVRA does not

apply, or in the alternative that an evidentiary hearing be held to determine how much of

the loss was proximately caused by the defendant, and that certain costs (mother’s lost

income and the special assessment) not be imposed.

                                                 LOGAN PROCELL
                                                 By his attorneys,
                                                 CARNEY & ASSOCIATES

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July 22, 2019




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(NEF) and paper copies will be sent to those indicated as non-registered participants on
or before the above date.
                                                  J. W. Carney, Jr.
                                                  J. W. Carney, Jr.




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                   AFFIDAVIT SUPPORTING
   DEFENDANT’S MOTION FOR EVIDENTIARY HEARING REGARDING
                        RESTITUTION

      I, J. W. Carney, Jr., state that the facts contained in the attached motion are true to

the best of my information and belief.

      Signed under the penalties of perjury.

                                                  J. W. Carney, Jr.
                                                  J. W. Carney, Jr.

Dated: July 22, 2019




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